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FORM TO BE USED BY PRISONERS IN FILING A COMPLAINT EVIRG..
UNDER THE CIVIL RIGHTS ACT, 42 USc 8 1983
| WET ASG onl PLC Purse
CHANG AC ELD In the United States District

Court for the Middle
District of Pennsylvania

FILED _
: SCRANTON
(Enter above the full name oF . AUG 12 2020.

the plaintiff or plaintiffs in
this action)

 

 

 

 

 

 

Vs.
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MAL Cee AL. CAS | THE COrwc.

 

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(Enter above the full name of
the defendant or defendants - F Coneetrqul CHUTE ABN

in this action) Diucacth_ Poli steccfes

I. Previous Lawsuits

A. Have you begun other lawsuits in state or federal court .
dealing with the same facts involved in this action or

otherwise relating to your imprisonment? |
Yes No

B. If your answer to A. is yes, describe each lawsuit in
the space below. (If there is more than one lawsuit,
describe the additional lawsuits on another piece of
paper, using the same outline).

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D. If your answer is NO, explain why not:

 

 

III. Parties

(In Item A below, place your name in the first blank and
place your present address in the second blank. Do the
same for additional plaintiffs, if any).

 

»A. Name of plaintiff

Address

 

(In Item B below, place the full name of the defendant in
the first blank, his official position in the second blank,
and his place of employment in the third blank. Use item
C for the names, positions, and places of employment of any
additional defendants).
B. Defendant . _ is
employed as Moo & LORE Seal at
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C. Additional Defendants:
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IV. Statement of Claim:

 

State here as briefly as possible the facts of your
case. Describe how each defendant is involved. Include

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also the names of other persons involved, dates and Cow e2

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places. Do not give any legal arguments or cite any ae UM" 4 af
cases or statutes. If you intend to allege a number
of related claims, number and set forth each claim in Cree

a separate paragraph. (Use as much space as you need.

Attach extra sheet if necessary).

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Signed this Ee day of Arsrae—~

 

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(Stenature of plaintiff or
plaintiffs)

Executed at ALC -C:#

 

(Name of institution, city, county)

I declare under penalty of perjury | that the
foregoing ‘ts true and correct.

Executed on

 

(Date)

 

 

 

 

(Signature of plaintitt or
plaintiffs)
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